AO 245D (W D N C R ev. 4/04) Judgm ent in a Crim inal C ase for R evocation



                                        UNITED STATES DISTRICT COURT
                                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
UNITED STATES OF AMERICA                                                      JUDGMENT IN A CRIMINAL CASE
                                                                              (For Revocation of Probation or Supervised Release)
          V.                                                                  (For Offenses Committed On or After November 1, 1987)



ANDRE LAMONT BERRY                                                            Case Num ber: DNCW 506CR000022-017
                                                                              USM Num ber: 20787-058

                                                                              Alicia Brooks
                                                                              Defendant’s Attorney


THE DEFENDANT:

          Adm itted guilt to violation of condition(s)     Of the term of supervision.
          W as found in violation of condition(s) count(s)       After denial of guilt.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violations(s):



                                                                                                     Date Violation
 Violation Num ber                    Nature of Violation                                            Concluded




        The Defendant is sentenced as provided in page 1 through 1 of this judgm ent. The sentence is im posed pursuant
to the Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

X         The Governm ent did not pursue the violation as to condition 1 and the petition is dism issed.

        IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any
change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents im posed by this
judgm ent are fully paid. If ordered to pay m onetary penalties, the defendant shall notify the court and United States
attorney of any m aterial change in the defendant’s econom ic circum stances.


                                                                                 Date of Hearing: Septem ber 10, 2012

                                                                                 Signed: September 20, 2012




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